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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                            Case No.: 13-61079-Civ-Scola/Valle

  JEFFREY D. BIANCHI,

        Plaintiff,
  v.

  PIONEER CREDIT RECOVERY, INC.,

       Defendant.
  _________________________________________/

                             NOTICE OF SETTLEMENT

        Plaintiff, Jeffrey D. Bianchi, gives notice that the parties have reached a full

  settlement of the case in writing and will file a joint dismissal shortly.


                                          Respectfully submitted,

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                                          s/Donald A. Yarbrough
                                          Donald A. Yarbrough, Esq.
                                          Florida Bar No. 0158658
Case 0:13-cv-61079-RNS Document 31 Entered on FLSD Docket 04/10/2014 Page 2 of 2



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  _______________________________/

                             CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 10, 2014, I electronically filed the foregoing
  document with the Clerk of Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties identified on
  the attached Service List in the manner specified, either via transmission of Notices of
  Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive electronically Notices of Electronic
  Filing.



                                                  s/Donald A. Yarbrough
                                                  Donald A. Yarbrough, Esq.


                                     SERVICE LIST

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